                     EXHIBIT A




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Ronald G. Harris

From:                            Ronald G. Harris
Sent:                            Tuesday, May 21, 2024 7:10 PM
To:                              Katherine Barrett Riley
Cc:                              Philip N. Elbert; Olivia R. Arboneaux; Nanci-Taylor Maddux
Subject:                         Re: Sills v. Southern Baptist Convention et al


I appreciate the extension and hope we won't need much more time .. I thought our discussion of further
extension was much broader than just a rolling production of documents .. I mentioned that it looks like
we have a large amount of documents to collect and review that may make it take more time to make
responses to discovery. As we discussed, we hope to be able to figure out how to cut the volume down.
am confident we can work together.

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From: Katherine Barrett Riley <KBRiley@BarrettLawGroup.com>
Sent: Tuesday, May 21, 2024 6:56:03 PM
To: Ronald G. Harris <rharris@nealharwell.com>
Cc: Philip N. Elbert <pelbert@nealharwell.com>; Olivia R. Arboneaux <oarboneaux@nealharwell.com>; Nanci-Taylor
Maddux <NTMaddux@BarrettLawGroup.com>
Subject: RE : Sills v. Southern Baptist Convention et al

Hi, Ron. This confirms that I have granted an extension until June 7, and I am willing to discuss a further extension
for a rolling production of documents after that date. Katherine

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From: Ronald G. Harris <rharris@nealharwell.com>
Sent: Tuesday, May 21, 2024 6:50 PM
To: Katherine Barrett Riley <KBRiley@BarrettLawGroup.com>
Cc: Philip N. Elbert <pelbert@nealharwell.com>; Olivia R. Arboneaux <oarboneaux@nealharwell.com>
Subject: Sills v. Southern Baptist Convention et al

Katherine, this is to confirm our conversation today that you are willing to give our client Jennifer Lyell an
extension, up to and including June 7 to respond to the
outstanding discovery requests that the Plaintiffs had propounded to Ms. Lyell. I asked for a longer extension of
time given the amount of material that we are going to
have to review. You advised that you had given other defendants an extension until June 7 and wanted to hold that
date for now for "house-keeping purposes ." This is to confirm that you
advised "off the record" that we could revisit that date with you if we needed more time.

Thanks for your cooperation in this matter.

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Ron




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